Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 1 of 15 PageID #: 5765




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )    Case No.: 92-cr-00351 (EK)
                                              )
VICTOR J. ORENA                               )
                                              )

               VICTOR J. ORENA’S OBJECTIONS TO REVISED
                 PRE-SENTENCE INVESTIGATION REPORT

       Victor J. Orena, the Defendant in the above-styled case, by and through the

undersigned counsel and pursuant to Rule 32(f) of the Federal Rules of Criminal

Procedure, hereby files his objections to the revised pre-sentence investigation

report, provided to the Defendant on May 24, 2023. All prior filings in this case

are incorporated herein.

                         Introduction and General Objection

       As the Court is aware and all parties have acknowledged, this case was

remanded by the Second Circuit, based on a finding that Mr. Orena’s firearm

conviction must be vacated and is now before the Court for a de novo re-

sentencing.1


1
  See e.g. Gov’t Letter of April 30, 2021 at 1 [ECF# 1856] (“... the government has conceded
that the firearm conviction cannot stand in light of the Supreme Court’s decision in United
States v. Davis, 139 S. Ct. 2319 (2019), requiring the Court to undertake a full de novo
resentencing.”); Gov’t Letter of October 15, 2020 at 1, 7 [ECF# 1852] (“...Orena’s

                                              1
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 2 of 15 PageID #: 5766




       To that end, the Court has on two occasions ordered that an “updated PSR”

be prepared and provided to the parties by May 22, 2023, in advance of the de

novo resentencing.2

       On May 24, 2023, the Probation Department emailed the undersigned and

government counsel a document styled “Revised Presentence Investigation

Report,” indicating on the first page that the original PSR was prepared on April 1,

1993 and that it was revised on May 24, 2023. The “Revised” PSR is a 56 page

document that, with the exception of a rare random insertion3, is simply a copy of

the original PSR, prepared over 30 years ago.

       With all due respect to the Probation Department, in no meaningful way can

this “Revised” PSR be deemed an “updated” PSR. Moreover, given the process

and role intended for a Presentence Investigation Report under Rule 32 of the

Federal Rules of Criminal Procedure, and the great significance this Court has


conviction on Count Eleven must be vacated and the Court should undertake a full
resentencing of Orena.” “Because Orena’s Section 924(c) conviction is predicated on a crime of
violence that qualifies only under the Residual Clause, Orena’s conviction on this count must
be vacated and the Court should undertake a full resentencing of Orena on the remaining
counts. See Powers, 842 F.3d at 179.”)
2
 See ECF# 1855 & Text Order of April 21, 2023 (ordering the “updated” PSR to be provided by
May 22, 2023) .
3
  See e.g., Page 4, updating to show co-defendants recently re-sentenced to time served or a
dramatically reduced sentence; ¶11 (reflecting that a Count is to be vacated; but citing the wrong
Count); ¶¶222 & 224 (reflecting Mr. Orena’s incarceration for 31 years, since 1992 and brief
reference to his terminal medical conditions in summary form).

                                                2
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 3 of 15 PageID #: 5767




given to the PSR thus far in this case - e.g., in connection with Mr. Orena’s motion

for compassionate release under 18 U.S.C. §3582 - this is a very significant matter.

       Additionally, the “Revised” PSR reflects a different indictment entirely

from what the government has posited as the operative indictment in the case.4

This, of course, makes it impossible to fully and accurately enter objections to the

Revised PSR and its reference to the crimes of conviction before the Court and the

sentence to be allocated to each.

       Mr. Orena objects to the Revised Presentence Investigation Report in its

entirety as violative of Rule 32 and this Court’s Orders.

       To give just some brief examples of the ways in which the Revised PSR

fails to give an accurate picture of Mr. Orena as he stands before the Court for de

novo resentencing today, consider the following:

A. On Page 2, the Court is advised that Mr. Orena is 58 years old. Mr. Orena will

be 89 years old on August 4, 2023. Clearly his current age is a relevant sentencing


4
  Compare the 9 count indictment reflected and described on Pages 3 and 5-6 of the Revised PSR
and the Probation Department’s report to the Court that Count 8 is the Count to be vacated with
the government’s letter of October 15, 2020, following the remand from the Second Circuit,
explaining that it was Count 11 that is to be vacated and attaching the 14 count S-4 indictment,
which the government contends is the operative indictment. [ECF# 1852 & 1852-1]. The records
from the time frame of the trial in this case are not accessible online through the Pacer system
and the undersigned cannot discuss the matter or get any questions answered by Mr. Orena
because of his dementia. The undersigned is relying on the government’s October 15, 2020 letter
as to what the actual operative indictment provides. The confusion surrounding this matter must
be resolved before Mr. Orena can meaningfully enter all applicable objections.

                                               3
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 4 of 15 PageID #: 5768




factor. On the same page, his residence address from over 30 years ago is listed.

Mr. Orena has been incarcerated continuously for over 30 years.

B. A PSR, of course, is intended, inter alia, to present the Court with an accurate

picture of the defendant’s financial condition and ability to pay a fine. This

“Revised” PSR solely reflects Mr. Orena’s purported financial condition over 30

years ago in ¶¶248-253. It also advises the Court that defense counsel requested

that the Officer not discuss financial matters with Mr. Orena. That might have

been the case over 30 years ago; for the “Revised” PSR, neither the undersigned

nor Mr. Orena (according to his family) was contacted at all by the Probation

Department for any input into the Report.

C. As this Court is aware, Mr. Orena suffers from overwhelming medical

conditions, deemed terminal under all applicable regulations and guidelines. He is

confined to a wheelchair, unable to self-care, and suffers from dementia, which,

according to reports by medical and correctional staff which the undersigned

previously provided to the Court, renders Mr. Orena unable to know or understand

who he is or where he is. The “Revised” PSR includes one paragraph which, in

summary fashion, minimizes the severity of his condition [¶224], and then goes on

to provide his physical condition from other 30 years ago in 5 paragraphs [¶¶225-

229]. Paragraph 222 makes passing reference to the BOP assessment of Mr.

                                          4
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 5 of 15 PageID #: 5769




Orena’s current risk for dangerousness or recidivism as the lowest level

(minimum) [See ECF# 1864-2]; but it too gives short shrift to his overwhelming

mental and physical disabilities and omits all of the productive activities in which

he engaged for both personal rehabilitation and to help others. See e.g., Pepper v.

United States, 562 U.S. 476, 481 (2011) (courts consider rehabilitation since the

original sentencing on resentencing). Evidence of this already has been provided

to the Court and is incorporated herein.

D. Throughout the “Revised” PSR, reference is made to Mr. Orena’s purported

conduct beyond the conduct charged and for which he was convicted, attributed to

information provided by the FBI or other unnamed “law enforcement” sources or

“trial testimony” [See e.g. Pages 13-20]. Entirely absent from the “Revised” PSR

is the abundant evidence of government misconduct which, several years after the

original sentence was imposed, led Judge Weinstein to conclude that the

government misconduct attending this case was “disturbing” and that on the law

and facts a decision vacating the judgment of conviction and sentence “might be

justified.5” The “Revised” PSR also omits all of the evidence of unprecedented

government misconduct that was only uncovered after Judge Weinstein’s decision,

including a multiple count murder indictment for a lead FBI agent and much more,


5
    Orena v. United States, 956 F. Supp. 1071, 1076 (E.D.N.Y. 1997) (Weinstein, J.).

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Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 6 of 15 PageID #: 5770




a withheld report from a Top Echelon Confidential Informant advising the

government that somehow else committed the murder for which Mr. Orena was

convicted. [ECF# 1869-4; See also ECF# 1869 and exhibits - incorporated herein].

Clearly, all of this is relevant to providing the Court with a full, fair, and accurate

picture of the circumstances to be considered under 18 U.S.C. 3553(a) as Mr.

Orena now stands before this Court; but the “Revised” PSR on which this Court is

to base its de novo resentencing omits it all entirely.

       In short, going forward with Mr. Orena’s de novo resentencing based on this

“Revised” PSR which reflects facts from over 30 years ago, including purported

“facts” that have been entirely undermined in the years since and that omits

material facts directly relevant to sentencing violates the fundamental and long-

recognized principles by courts in this District see e.g., United States v. DeRiggi,

893 F. Supp. 171, 174 (E.D.N.Y. 1995) (Weinstein, J.)6 and as recently affirmed in

very clear terms by the United States Supreme Court. See Concepcion v. United

States, – U.S. –, 142 S. Ct. 2389, 213 L. Ed. 2d 731 (June 27, 2022).7


6
  “The sentencing court must consider the facts as it finds them at the time of resentence.
Additional facts supplement those considered at the time of the first sentence.” 893 F. Supp. 171
at 174.
7
 “When a defendant appears for sentencing, the sentencing court considers the defendant on that
day, not on the date of his offense or the date of conviction.” 142 S. Ct. at 2395; 213 L. Ed. 2d at
741. The Court in Concepcion makes clear throughout the decision that the same principles
apply at a resentencing or sentencing modification proceeding in this regard.

                                                 6
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 7 of 15 PageID #: 5771




       Mr. Orena objects to the “Revised” PSR in its entirety for the foregoing

reasons and because it violates the requirements set forth in Rule 32(c) & (d).8

Rather than burdening the Court with a re-filing of all of the materials and

information that Mr. Orena asserts must be included at least by detailed reference

in an updated PSR and which must be considered by this Court at the de novo

resentencing, he incorporated by reference herein, as if expressly set forth, all

prior filings on this subject, including, but not limited to, the medical records and

related filings made under seal and ECF## 1864, 1869, 1875, 1912 and all exhibits

attached to the foregoing, as well as the arguments made on October 13, 2021

(Transcript at ECF# 1879]. Mr. Orena further respectfully submits that the

government has a continuing obligation to disclose to the Probation Department,

the defense, and to the Court the entire body of exculpatory and impeachment

evidence it either withheld at the time of Mr. Orena’s trial or that it became aware

of since then, including all evidence of government misconduct in any way related

to the assertions against Mr. Orena in the “Revised” PSR.




8
  Rule 32(i)((1)(A) highlights the central importance of the PSR by expressly requiring the Court
to assure itself that the defendant and defense counsel have discussed the PSR and any
addendum. As an aside, it is hard to see how this obligation can be fulfilled, given Mr. Orena’s
dementia.

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Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 8 of 15 PageID #: 5772




                                     Specific Objections

       Without waiving his position that the “Revised” PSR does not comply with

Rule 32 or the underlying purpose in providing an “updated” PSR as requested

and ordered, and is otherwise fatally for, among other reasons, being based on an

incorrect version of the indictment, Mr. Orena asserts the following specific

objections:

1. Objection to pages 3 and 5-6. The indictment referred to and on which the

“Revised” PSR (“RPSR”) is based clearly is not S-4, which the government has

asserted is the operative indictment and the description of the counts in the RPSR

cannot be reconciled with the copy of S-4 which the government has filed.

Compare ECF## 1852 at 2, ¶C.; 1852-1. This affects the entire RPSR and the

objections to it.9

2. Page 4 of the RPSR refers to “other defendants.” Mr. Orena objects to the

extent this list omits relevant facts related to the other cases and omits a

description of recent decisions and findings reducing the sentences in some of

these cases. There are additional relevant cases that should be considered by the

Court for comparative/disparity purposes. This will be addressed at the


9
 The RPSR, at the pages identified, refers to and describes a 9 count indictment and asserts that
Count 8 was vacated; the government’s submission presents a 14 count indictment as the
operative indictment and asserts that Count 11 was vacated.

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Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 9 of 15 PageID #: 5773




resentencing.

3. Pages 6-13 of the RPSR purports to provide a boilerplate history of organized

crime in America from 1915 (some 19 years before Mr. Orena was even born),

attributed to unnamed “law enforcement authorities.” There was no such evidence

adduced at trial, there is no independent indicia of reliability, and it should not be

a part of the RPSR in this case. Mr. Orena objects and asks that it be stricken.

4. Mr. Orena objects to the narrative on pages 13-20 based on “trial testimony” in

light of developments that have come to light since the trial and original

sentencing that undermine the integrity of that trial testimony and the conviction

itself. [See ECF# 1869 and exhibits attached thereto].

5. Mr. Orena specifically objects to the whole narrative concerning the death of

Thomas Ocera (and all allegations related to the death of Mr. Ocera) at Pages 15-

17 and elsewhere, including the Guideline calculation based on this allegation, set

out at ¶¶73-78 of the RPSR. As the Court has been advised, the government

withheld from Mr. Orena a statement made to the government by Top Echelon

Confidential Informant Frank Sparaco attributing the murder of Mr. Ocera to

someone else, explaining the motive for it, and explaining further that the so-

called Colombo family leadership (a role the government has attributed to Mr.

Orena) were upset about Mr. Ocera’s murder. [See ECF# 1869-4].

                                           9
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 10 of 15 PageID #: 5774




6. Mr. Orena further objects to the narrative on Page 17, attributed to unnamed

“law enforcement authorities” concerning the alleged conspiracy to “assassinate”

the people listed under ¶5410 and in ¶55 that Henry “Hank” Smurra and Rosario

“Black Sam” Nastasi were killed at the behest of Mr. Orena and that an innocent

bystander’s death was somehow attributable to Mr. Orena. There was no proof at

trial of as to any of the individuals named in these paragraphs connecting Mr.

Orena to a conspiracy to kill them or to their death; nor did the indictment charge

Mr. Orena with the same as to any named individual. Moreover, especially in

light of the government misconduct that surfaced since the original sentencing,

there is no credible basis for believing these allegations to be true and certainly not

to a sufficient degree to include this in Mr. Orena’s RPSR.

       The murder of Mr. Smurra provides a compelling example of why these

uncharged and unproven specific allegations must be rejected and stricken from

10
   It would appear that the government and the Probation Department are uncertain about the
identity of the people on its list in ¶54. For example, in ¶54, one of the people the RPSR claims
Mr. Orena is supposed to have conspired to kill was “Gregory Scarpa, Sr.” However, in the
Guidelines calculations intended to correspond to the allegations in ¶54, the RPSR identifies the
intended target as “Gregory Scarpa, Jr.” See ¶¶91-96. These were two very different people.
Significantly, one of the primary pieces of material evidence withheld from Mr. Orena at his trial
(and used at other related defendants’ trials which ended in acquittals) was the fact that Gregory
Scarpa, Sr. was a government agent, given license to remain on the street killing and fomenting
the so-called “war” and that he was working closely with one of the leading “law enforcement
authorties” in this case, FBI Agent Devecchio, was subsequently was charged with multiple
murders and who was providing information to Scarpa, Sr. to facilitate the murders he was
committing. Mr. Orena objects to crediting any of the allegations on Page 17 or the related
Guidelines calculations on Pages 20-31.

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Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 11 of 15 PageID #: 5775




the RPSR in all regards. Upon information and belief, the government’s theory is

that a man named Vincent DeMartino shot and killed Mr. Smurra and Mr.

DeMartino was tried for conspiring to so the before Judge Nickerson in 1994 on

the government’s theory that he was acting to gain favor with Mr. Orena and his

co-called faction. See United States v. Cutolo, 93 cr.1230. Upon further

information and belief, that theory was wholly rejected by the jury. Mr.

DeMartino and his co-defendants were found not guilty.11 This is the only actual

testing of the government’s theory regarding the death of Mr. Smurra and it was

rejected by a jury based on the evidence the government presented. It must be

stricken Mr. Orena’s RPSR, as must the Guidelines calculation based on the

unsupported, unsupportable, and uncharged allegation that Mr. Orena murdered

Mr. Smurra. See RPSR at ¶¶145-150. The same objection applies, of course, to

the attribution to Mr. Orena of the murder of Mr. Nastasi and the corresponding

Guideline calculation at ¶¶151-156 and to all other enhancements based on these

and all other completely uncharged and unproven allegations. Finally on this

issue, there is no basis under any cognizable theory for using Guidelines

11
   Interestingly, in a reported decision from the Cutolo case, one of Mr. DeMartino’s co-
defendants, identified as being a part of the so-called Orena faction was one Joseph Russo.
United States v. Cutolo, 861 F. Supp. 1142, 1144-45 (E.D.N.Y. 1994) (identifying Joseph Russo
as an alleged member of the so-called Orena faction). But in Mr. Orena’s RPSR, Joseph Russo is
listed as member of the so-called Persico faction Mr. Orena is alleged to have conspired to kill
because of his Persico faction membership. See RPSR at ¶54.

                                              11
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 12 of 15 PageID #: 5776




calculations for murder with respect to the Smurra and Nastasi deaths; for at most,

putting aside, arguendo, the fatal deficiencies herein identified with such

attribution, at most, even if somehow the Court were to (unfairly and erroenously)

conclude that the record were sufficient to include some conduct with respect to

these two, the most that could be attributed would be a conspiracy charge. Mr.

Orena was charged with conspiring to murder the unnamed so-called Persico

faction under the Racketeering Act theory upon which the RPSR apparently is

relying, not murder. The broader objection, though, is that there is no basis to

conclude that the jury’s verdict established any of the allegations and

corresponding Guideline calculations concerning the people named in ¶¶54-55.

7. Mr. Orena objects to the provisions in the RPSR that attributes the individual

murder conspiracies identified to Mr. Orena, for the foregoing reasons (because

Mr. Orena was never specifically charged with them, because the government

misconduct evidence that subsequently surfaced undermines this theory, because

there was no proof of the same at trial, and for the other reasons previously noted)

and because this theory of treating each such alleged conspiracy arising from a

count or counts charging the same without identifying any particular target or

putting on proof regarding any of the targets listed in the RPSR, in order to

increase the Guidelines level was expressly rejected by Judge Glasser in United

                                         12
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 13 of 15 PageID #: 5777




States v. Donofrio, 817 F. Supp. 321 (E.D.N.Y. 1993) (regarding so-called Persico

faction defendants found guilty of conspiring to kill so-called Orena faction

people).

8. Based, inter alia, on information provided by TECI Sparaco and withheld from

Mr. Orena by the government, Mr. Orena objects to the attribution of the

possession of firearms at ¶¶62-66 and the corresponding Guidelines calculations at

¶¶171-177.

9. Mr. Orena objects to the use of the Guideline for First Degree murder in this

case and a corresponding base offense level of 43 under §2A1.1. Mr. Orena was

charged with violating New York Penal Laws charging Second Degree murder.

Upon information and belief the base offense level at the time of the original

sentencing in this case for second degree murder was 28. He objects to using any

Guideline for First Degree murder for any purpose and to all Guideline

calculations using that for any purpose, including the calculations in ¶¶167-170;

178-184

10. Mr. Orena objects to any and all portions of the RPSR that attribute to him

any offense related to Jack Leale [See ¶¶191-198]. There is no credible evidence

attributing his death to Mr. Orena and government documents have, indeed,

reflected a completely different theory concerning his death. Mr. Orena further

                                         13
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 14 of 15 PageID #: 5778




objects to the attribution to him of any responsibility for the death of Matteo

Speranza [See ¶55]. Both matters were fully known to the government prior to

trial and neither was charged against Mr. Orena as they undoubtedly would have

been if the government believed it could actually prove any connection to Mr.

Orena. Mr. Orena further objects to the assertion at ¶67 concerning an alleged

obstruction of justice and he asserts that there was no illegal purpose or action at

play in the matter described.

11. Mr. Orena objects to ¶¶248-253. He has been incarcerated for over 30 years

and has no financial ability to pay any fine or any restitution or other imposed

cost. He also objects to the calculations of the fines in cumulative or consecutive

fashion.

      Mr. Orena respectfully reserves the right to make additional objections once

the confusion concerning the operative indictment is resolved and he reserves the

right to make additional sentencing arguments in a sentencing memorandum and at

sentencing. At the very maximum, Mr. Orena should be sentenced to time served

at his resentencing based on all factors to be considered under 18 U.S.C. §3553(a),

and otherwise, as will be further demonstrated at the resentencing.




                                          14
Case 1:92-cr-00351-EK Document 1924 Filed 06/07/23 Page 15 of 15 PageID #: 5779




                              Respectfully submitted,

                               /s/ David I. Schoen
                                David I. Schoen
                               (ASB-0860-O42D)
                            Counsel for Victor J. Orena

                         CERTIFICATE OF SERVICE

      I hereby certify that on the 7th day of June, 2023, I caused the foregoing

Objections to the Revised Presentence Investigation Report to be served on all

counsel of record this Court’s ECF system and on the Probation Department by

emailing the same to that office at the email address by which the Revised

Presentence Investigation Report was sent to the undersigned.

                                /s/ David I. Schoen
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                                         15
